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United States District Court

for the
Western District of New York

AO 91 (Rev. 02/09) Criminal Complaint

United States of America

 

Vv. Case No. 20-mj-1043
Courtland Renford
Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about May 30, 2020, in the Western District of New York, the defendant, COURTLAND RENFORD,
did maliciously damage or destroy, and attempt to damage or destroy, by means of fire, Buffalo City Hall, which is a
building used in interstate commerce and in any activity affecting interstate commerce, in violation of ‘Title 18, United
States Code, Section 844(i).

This Criminal Complaint is based on these facts:

KI Continued on the attached sheet.

 

 

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season! ~ Complainant’s signature \
GERARD M. O’SULLIVAN :

SPECIAL AGENT
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS, AND EXPLOSIVES

Printed name and title

Sworn to telephonically.

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iy | Jindge’s signature
HONORABLE JEREMIAII J. MGCARTITY
City and State: Buffalo, New York UNITED STATES MAGISTRATE JUDGE

Printed name and title

 

Date: _June if 2020

 
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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

STATE OF NEW YORK)
COUNTY OF ERIE ) SS:
CITY OF BUFFALO )

GERARD M. O’SULLIVAN, being duly sworn deposes and says:

1, Your affiant has been employed as a Special Agent of the Bureau of Alcohol,
Tobacco, Firearms and Explosives (“ATF”) for over twenty-eight years. Your affiant has
attended the Department of Homeland Security’s Criminal Investigator School, and the ATF
National Academy. Through these schools, your affiant has received specific instruction of
Federal Firearms and Arson laws. During your affiant’s tenure with ATF, your affiant has
written numerous affidavits in support of criminal complaints involving violations of the

federal firearms laws.

2. This affidavit is written in support of a criminal complaint against
COURTLAND RENFORD, charging him with a violation of Title 18, United States Code,
Section 8444), that is maliciously damaging or destroying, or attempting to damage or
destroy, by means of a fire or an explosive, Buffalo City Hall, a building used in or affecting
interstate commerce. Your affiant makes this affidavit based not only on upon his own
personal knowledge of the facts of this case and his own investigation, but also based upon

his conversations with other law enforcement officers involved in the investigation of this
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case, concerning their investigation of this case and a review of various documents involved

in this investigation and case.

PROBABLE CAUSE

3. On May 30, 2020, protesters had gathered in Niagara Square, Buffalo, New
York, At approximately 11:25 p.m., an individual captured on video was seen walking up
the steps of Buffalo City Hall, located at 65 Niagara Square, carrying a green laundry basket
that contained a fire. The individual then threw the burning laundry basket into the window
of Buffalo City Hall, wherein a fire ensued. Buffalo Police Officers and Fire Department
personnel entered City Hall in an effort to extinguish the fire. Fire Department personnel
extinguished the fire. According to Fire Department personnel, items inside Buffalo City Hall
had been destroyed and/or damaged. The individual who threw the fire into Buffalo City
Hall was captured on video and. can be described as a light to medium skinned black male,
skinny build with brown hair. This individual was captured on video wearing a distinct
Chanel face mask. News cameras captured this individual throw his hands up after he had

thrown the lighted laundry basket into Buffalo City Hall.

4, Based on this information, law enforcement sent out an alert with the
individual’s picture. Law enforcement personnel notified Buffalo Police Department
personnel that the individual captured on video was COURTLAND RENFORD and
provided his address in Buffalo, NY. Buffalo Police and Fire Department personnel went to
RENFORD’s address where they met two (2) females. Both females gave consent to search

the residence. Inside the residence, Buffalo Police and Fire Department personnel searched
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the residence and found RENFORD hiding behind clothes on the second floor. RENFORD
was detained and brought to a Buffalo Police Department police vehicle. Buffalo Fire
Department personnel verbally read RENFORD his Miranda rights, which he acknowledged
and agreed to waive. RENFORD admitted to setting Buffalo City Hall on fire. Officers also

recovered the same distinctive Chanel face mask worn by RENFORD inside the residence.

5. RENFORD was transported to the Buffalo Police Department for further
questioning. At this point, I conducted a videotaped interview of RENFORD. RENFORD
was advised of his Miranda rights verbally and in writing, which the defendant acknowled ged
and agreed to waive. RENFORD admitted that he was the individual who threw the fire
burning inside the laundry basket into Buffalo City Hall. RENFORD stated that he watched

the fire begin to progress after he threw the burning laundry basket into Buffalo City Hall.

6. Buffalo City Hall, located at 65 Niagara Square, is a building that is used or
engages in activity affecting interstate commerce. [he building is comprised of various offices
designed to support the City of Buffalo. Buffalo City Hall consists of the following types of
offices: the Mayor’s Office, Common Council, City Clerk, Executive Departments and
Agencies, the Comptroller, Public Authorities, and various Boards and Commissions. The
City Clerk, for example, processes birth certificates, death certificates, marriage certificates,
issues dog license, and records ordinances enacted by the Buffalo Common Council and every
local law. As for the Executive Departments, the Assessment and Taxation Department
assesses and oversees the taxes coming into the City of Buffalo. The Administration, Finance,
Policy & Urban Affairs, performs financial analysis and recommendations for City of Buffalo

projects and operations. The Perniit and Inspection Services oversees all development and
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uses of private property in the City of Buffalo. The Buffalo Urban Renewal Agency is an
agency dedicated to redevelopment in the City of Buffalo. Also located in Buffalo City Hall
is Sue’s Deli, a business involved in sale of food and merchandise in New York and elsewhere.
These offices and businesses, along with other offices and businesses are involved in interstate
commerce or engage in services that affect interstate commerce. See United State v. Dye, 538
Fed. Appx. 654, 660 n.3 (6th Cir. 2013) (discussing fire set to City Hall that held a courtroom
is sufficient to establish interstate nexus) and United States v. Saleh, 2020 U.S. App. LEXIS

16111 (2d Cir. 2020) (finding that a deli satisfies interstate commerce element).

1. Based on the forgoing facts, your affiant believes probable cause exists that

COURTLAND RENFORD violated the offense as laid out in the attached complaint.

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GERARD M. O’SULLIVAN

Senior Special Agent

Bureau of Alcohol, Tobacco, Firearms
and Explosives

Sworn to telephonically
this /¢x day of June, 2020.
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HONORABLE JEREMIAM J. MCCARTHY |
United States Magistratedudge
